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8                             UNITED STATES DISTRICT COURT
9                          SOUTHERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                          Case No.: 19-CR-3839-GPC
12                                     Plaintiff,
                                                        ORDER DENYING MOTION FOR
13   v.                                                 COMPASSIONATE RELEASE OR
                                                        MODIFICATION OF SENTENCE
14   AIDAN CURRY
                                                        WITHOUT PREJUDICE
15                                   Defendant.
16
17         Defendant Aidan Curry (“Defendant”) filed a motion seeking compassionate
18   release or modification of his sentence. ECF No. 54. Defendant is not yet in the custody
19   of the Bureau of Prisons (“BOP”) because his date for self-surrender has not yet arrived.
20   ECF No. 53.
21         Defendant moves for modification of his sentence under 18 U.S.C. §
22   3582(c)(1)(A), which provides, in relevant part:
23         The court may not modify a term of imprisonment once it has been imposed except
           that—
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           (1) in any case—
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26         (A) the court, upon motion of the Director of the Bureau of Prisons, or upon
           motion of the defendant after the defendant has fully exhausted all administrative
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1          rights to appeal a failure of the Bureau of Prisons to bring a motion on the
           defendant's behalf or the lapse of 30 days from the receipt of such a request by the
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           warden of the defendant's facility, whichever is earlier, may reduce the term of
3          imprisonment (and may impose a term of probation or supervised release with or
           without conditions that does not exceed the unserved portion of the original term of
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           imprisonment), after considering the factors set forth in section 3553(a) to the
5          extent that they are applicable, if it finds that—
6          (i) extraordinary and compelling reasons warrant such a reduction; or
7          (ii) the defendant is at least 70 years of age, has served at least 30 years in prison,
8          pursuant to a sentence imposed under section 3559(c), for the offense or offenses
           for which the defendant is currently imprisoned, and a determination has been
9          made by the Director of the Bureau of Prisons that the defendant is not a danger to
10         the safety of any other person or the community, as provided under section
           3142(g);
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           and that such a reduction is consistent with applicable policy statements issued by
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           the Sentencing Commission.
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15         Defendant argues that the Court should reach the merits of his motion even though
16   he has not yet surrendered to a BOP facility. ECF No. 54 at 3–4. Defendant’s self-
17   surrender date is currently set for November 9, 2020. ECF No. 53. However, Defendant
18   has sought and received several extensions of his self-surrender date on the grounds that
19   the COVID-19 pandemic presents risks to him as someone with preexisting medical
20   conditions. ECF Nos. 43, 46, 52, 53. Defendant is free to move for further extension of
21   his self-surrender date. Further, the language of Section 3582 states that a defendant can
22   only bring a motion for sentence reduction or modification after making a request to the
23   warden of the defendant’s facility. 18 U.S.C. § 3582(c)(1)(A). Defendant has not yet
24   entered the custody of any facility and has no warden or equivalent official to which he
25   can bring this request. See United States v. Spruill, No. 3:18-CR-0022-10(VLB), 2020
26   WL 2113621, at *3 (D. Conn. May 4, 2020). Contrary to Defendant’s assertion, this does
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1    not render his attempts at exhaustion futile. Instead, it shows that the statute
2    contemplates that these motions will be brought only by individuals in custody, not those
3    who have yet to begin serving their sentence. Several other district courts have found
4    that “by its plain terms, the section applies only to those defendants who have begun
5    serving their term of imprisonment at a BOP facility.” Spurill, 2020 WL 2113621, at *3;
6    United States v. Konny, No. 19-CR-283 (JGK), 2020 WL 2836783, at *2 (S.D.N.Y. May
7    30, 2020); United States v. Jordan, No. 1:19-CR-478-GHW, --- F. Supp. 3d. ----, 2020
8    WL 4195353, at *3 (S.D.N.Y. July 16, 2020). Because Defendant has not begun serving
9    his sentence, the issues raised in the motion are not yet ripe for review.
10         Accordingly, the Court finds that Defendant’s motion under Section 3582 is
11   premature. The Court therefore DENIES the motion without prejudice.
12         IT IS SO ORDERED.
13   Dated: October 15, 2020
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